  Case 2:23-cr-00019-DSF Document 7 Filed 01/17/23 Page 1 of 1 Page ID #:50



                                                                    1/17/2023

 Memorandum                                                            VAV



                                                                  2:23-cr-00019-DSF



 Subject:                                           Date:

 United States v.                                   January 13, 2023
 JAMES ARTHUR MCDONALD, JR.
 To:                                                From:

 KIRY K. GRAY                                       ALEXANDER B. SCHWAB
 Clerk, United States District Court                Assistant United States Attorney
 Central District of California                     Criminal Division



The above-referenced matter, being filed on January 17, 2023:

            x       Relates to a matter in which Assistant United States Attorney Carolyn S. Small is
            or has been personally involved while employed in the USAO and should therefore not
            be assigned to the Honorable Stanley Blumenfeld Jr.




                                                      ALEXANDER B. SCHWAB
                                                      Assistant United States Attorney
